






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-306 CR


____________________



WILLIAM JOEL PAGE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 90949






     MEMORANDUM OPINION


	William Joel Page was convicted and sentenced on an indictment for evading arrest
or detention while using a vehicle.  Page filed a notice of appeal on June 12, 2007.  The trial
court entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On June 13, 2007, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

									HOLLIS HORTON

										Justice


	

Opinion Delivered August 1, 2007

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


